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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FT. MYERS DIVISION

HARVEY SIMPSON, JR.,                               CASE NO:

     Plaintiff,

-VS:

WELLS FARGO BANK, N.A.,

  Defendant.
                                       /



                                            COMPLAINT

                  Plaintiff, HARVEY SIMPSON, JR., by and through his undersigned counsel, sues

the Defendant, WELLS FARGO BANK, N.A., and in support thereof respectfully alleges the

following:

1.        Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et

seq. (“TCPA”) and the Florida Consumer Collections Practices Act, Chapter 559, et seq.

(“FCCPA”).

                                           INTRODUCTION

2.        The TCPA was enacted to prevent companies like WELLS FARGO BANK, N.A., from

invading American citizen’s privacy and prevent abusive “robo-calls.”

3.        “The TCPA is designed to protect individual consumers from receiving intrusive and

unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

L.Ed. 2d 881 (2012).
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4.     “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

5.     According to the Federal Communications Commission (FCC), “Unwanted calls and

texts are the number one complaint to the FCC. There are thousands of complaints to the FCC

every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal



                                   JURISDICTION AND VENUE

6.     This is an action for damages exceeding Seventy-Five Thousand Dollars ($75,000.00)

exclusive of interest and costs.

7.     Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA

and/or by F.S. § 47.011 and/or by 28 U.S.C. § 1332, diversity jurisdiction.

8.     Subject matter jurisdiction, federal question jurisdiction, for purposes of this action is

appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have

original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the

United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v.

Arrow Fin. Servs., LLC, 132 S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (11th Cir. 2014).
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9.      Venue is proper in this District because the Plaintiff resides in this District (Lee County),

the phone calls were received in this District, and the Defendant transacts business in Lee

County, Florida.

                                   FACTUAL ALLEGATIONS

10.     Plaintiff is a natural person, and citizen of the State of Florida, residing in Lee County,

Florida, and resides in this District.

11.     Defendant is a corporation and national association, with its principal place of business in

San Francisco, California, and conducting business in the state of Florida.

12.     Defendant has a registered agent in Florida: Corporation Service Company, 1201 Hays

St, Tallahassee, Florida, 32301

13.     The conduct of Defendant which gives rise to the cause of action herein alleged occurred

in this District, Lee County, Florida, by the Defendant’s placing of illegal calls to Lee County,

Florida.

14.     Defendant, at all material times, was attempting to collect on a checking account, ending

in 0727, (hereinafter the “subject account”), which was issued and serviced by Defendant.

15.     Plaintiff put a stop payment on a check related to this account; however the check was

wrongfully allowed by Defendant which caused Plaintiff’s checking account to be overdrawn.

Plaintiff went and talked to the Manager of the Wachovia bank where he had his checking

account, and was informed by the Manager that it was the bank’s fault. However, Defendant

never fixed their error and the autodialer calls from Defendant continued.

16.     Defendant knowingly and/or willfully harassed and abused Plaintiff on a constant basis

by calling Plaintiff’s cellular telephone number up to three (3) times a day from approximately


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April 1, 2015 through the filing of this complaint, with such frequency as can reasonably be

expected to harass, all in an effort related to the collection of the subject account.

17.     Upon information and belief, some or all of the calls the Defendant made to Plaintiff’s

cellular telephone number were made using an “automatic telephone dialing system” which has

the capacity to store or produce telephone numbers to be called, using a random or sequential

number generator (including but not limited to a predictive dialer) or an artificial or prerecorded

voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer

calls”). Plaintiff will testify that he heard a pause before being connected to Defendant’s

representative. Plaintiff will also testify that some, if not all of the voice-message recordings he

received on her cell phone were pre-recorded. Lastly, based on the number and frequency of the

calls, Plaintiff believes that Defendant used a Predictive dialer or autodialer.

18.     All calls to the Plaintiff cell phone were made after clinet revoked consent to be called

and therefore without express consent.          Plaintiff’s had a conversation with Defendant’s

representative in April, 2015 during which he asked the representative to stop calling him on his

cellular telephone number. Furthermore, Plaintiff informed Defendant’s representative that he

was disputing the debt at issue and informed he believed he did not owe this debt. Each of the

autodialer calls the Defendant made to Plaintiff’s cellular telephone number after April, 2015,

was done so after he had revoked any “alleged” consent and without the “prior express consent”

of the Plaintiff.

19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone number, (352)

***-1012, and was the called party and recipient of Defendant’s autodialer calls.




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20.      The autodialer calls from Defendant came from the telephone numbers including but not

limited to 877-647-8552 and when that number is called, an automated voice answers and

identifies itself as “WELLS FARGO”

21.      After receiving numerous autodialer calls since April, 2015 to his cellular telephone

number from Defendant, Plaintiff spoke to a representative of Defendant in April 2015 and

requested the calls from Defendant stop, informed the representative they had the wrong person,

and told Defendant’s representative to “stop calling.”

22.      Despite Plaintiff informing Defendant to stop calling, the Defendant’s autodialer calls to

Plaintiff’s cellular phone continued.

23.      The autodialer calls from Defendant continued, at times, three (3) times a day from April,

2015, through the filing of this complaint. Defendant has, or should be in possession and/or

control of call logs, account notes, autodialer reports and/or other records that detail the exact

number of all autodialer calls made to Plaintiff.

24.      Plaintiff has logged the following calls from Defendant since he revoked consent:

      1. 5/9/15 at 10:34 a.m. from 877-647-8552

      2. 5/9/15 at 11:21 a.m. from 877-647-8552

      3. 5/9/15 at 11:55 a.m. from 877-647-8552

      4. 5/12/15 at 3:16 p.m. from 877-647-8552

      5. 5/12/15 at 4:23 p.m. from 877-647-8552

      6. 5/12/15 at 5:03 p.m. from 877-647-8552

      7. 5/13/15 at 3:26 p.m. from 877-647-8552

      8. 5/13/15 at 4:15 p.m. from 877-647-8552

      9. 5/13/15 at 4:47 p.m. from 877-647-8552
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  10. 5/14/15 at 2:27 p.m. from 877-647-8552

  11. 5/14/15 at 3:26 p.m. from 877-647-8552

  12. 5/14/15 at 4:35 p.m. from 877-647-8552

  13. 5/15/15 at 11:37 a.m. from 877-647-8552

  14. 5/15/15 at 12:32 p.m. from 877-647-8552

  15. 5/15/15 at 1:22 p.m. from 877-647-8552

  16. 5/16/15 at 11:24 a.m. from 877-647-8552

  17. 5/16/15 at 11:59 a.m. from 877-647-8552

  18. 5/16/15 at 12:48 p.m. from 877-647-8552

  19. 5/19/15 at 2:56 p.m. from 877-647-8552

  20. 5/19/15 at 4:13 p.m. from 877-647-8552

  21. 5/19/15 at 4:50 p.m. from 877-647-8552

  22. 5/20/15 at 3:45 p.m. from 877-647-8552

  23. 5/20/15 at 4:31 p.m. from 877-647-8552

  24. 5/20/15 at 6:16 p.m. from 877-647-8552

  25. 5/21/15 at 3:59 p.m. from 877-647-8552

  26. 5/21/15 at 4:56 p.m. from 877-647-8552

  27. 5/21/15 at 6:26 p.m. from 877-647-8552

  28. 5/22/15 at 11:55 a.m. from 877-647-8552

  29. 5/22/15 at 12:39 p.m. from 877-647-8552

  30. 5/22/15 at 1:38 p.m. from 877-647-8552

  31. 6/9/15 at 4:14 p.m. from 877-647-8552

  32. 6/10/15 at 4:12 p.m. from 877-647-8552
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  33. 6/16/15 at 7:40 p.m. from 877-647-8552

  34. 6/17/15 at 12:32 p.m. from 877-647-8552

  35. 6/20/15 at 10:33 a.m. from 877-647-8552

  36. 6/20/15 at 11:53 a.m. from 877-647-8552

  37. 6/24/15 at 1:48 p.m. from 877-647-8552

  38. 6/24/15 at 3:58 p.m. from 877-647-8552

  39. 6/24/15 at 6:28 p.m. from 877-647-8552

  40. 6/25/15 at 4:33 p.m. from 877-647-8552

  41. 6/25/15 at 6:28 p.m. from 877-647-8552

  42. 6/26/15 at 11:48 a.m. from 877-647-8552

  43. 6/27/15 at 10:58 a.m. from 877-647-8552

  44. 7/10/15 at 11:25 a.m. from 877-647-8552

  45. 7/10/15 at 12:29 p.m. from 877-647-8552

  46. 7/11/15 at 10:07 a.m. from 877-647-8552

  47. 7/14/15 at 4:49 p.m. from 877-647-8552

  48. 7/14/15 at 7:12 p.m. from 877-647-8552

  49. 7/15/15 at 6:35 p.m. from 877-647-8552

  50. 7/17/15 at 11:58 a.m. from 877-647-8552

  51. 7/17/15 at 12:42 p.m. from 877-647-8552

  52. 7/18/15 at 11:14 a.m. from 877-647-8552

  53. 7/21/15 at 4:34 p.m. from 877-647-8552

  54. 7/21/15 at 6:56 p.m. from 877-647-8552

  55. 7/22/15 at 4:13 p.m. from 877-647-8552
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      56. 7/22/15 at 6:24 p.m. from 877-647-8552

      57. 7/23/15 at 4:58 p.m. from 877-647-8552

      58. 7/24/15 at 12:28 p.m. from 877-647-8552

      59. 7/24/15 at 1:53 p.m. from 877-647-8552

      60. 7/25/15 at 10:29 a.m. from 877-647-8552

      61. 7/25/15 at 12:14 p.m. from 877-647-8552

      62. 7/28/15 at 1:34 p.m. from 877-647-8552

      63. 7/28/15 at 6:32 p.m. from 877-647-8552

      64. 7/29/15 at 4:13 p.m. from 877-647-8552

      65. 7/29/15 at 6:32 p.m. from 877-647-8552



25.      The Defendant has a corporate policy to use an automatic telephone dialing system or a

pre-recorded or artificial voice, and to make autodialer calls just as they did to Plaintiff’s cellular

telephone in this case, with no way for the called party and recipient of the calls, or the

Defendant, to permit the removal of the cell number as requested by Plaintiff.

26.      Defendant’s corporate policy is structured as to continue to call individuals like the

Plaintiff, despite the individual, like Plaintiff, advising Defendant to stop calling.

27.      Defendant’s corporate policy provided no means for the Plaintiff to have her cellular

number removed from the call list, or otherwise permit the cessation of and/or suppression of

calls to Plaintiff.

28.      Defendant has numerous other federal lawsuits pending against them alleging similar

violations as stated in this complaint.


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29.     Defendant has numerous complaints against them across the country asserting that their

automatic telephone dialing system continues to call the wrong people or people who have

revoked consent to be called.

30.     Defendant knowingly employed methods and/or has a corporate policy designed to harass

and abuse individuals and has set up their autodialer in a manner which makes it virtually

impossible for the autodialer calls to stop.

31.     Defendant knowingly employed methods that did not permit the cessation of or

suppression of autodialer calls to Plaintiff’s cellular telephone.

32.     Due to Defendant’s constant autodialer calls and demands for payment Plaintiff has

suffered statutory and actual damages in the form of emotional distress, frustration, worry, anger,

and/or loss of capacity to enjoy life.

                                                COUNT I
                                         (Violation of the TCPA)

33.      Plaintiff re-alleges and incorporates Paragraphs one (1) through thirty-two (32) above as

if fully stated herein.

34.     None of Defendant’s autodialer calls placed to Plaintiff were for “emergency purposes”

as specified in 47 U.S.C. § 227(b)(1)(A).

35.     Defendant violated the TCPA, with respect to all of its autodialer calls made to Plaintiff’s

cellular telephone number after Plaintiff revoked consent to be called and therefore without

Plaintiff’s prior express consent.

36.     The Defendant willfully and/or knowingly violated the TCPA, especially for each of the

autodialer calls made to Plaintiff’s cellular telephone after Plaintiff notified Defendant in April,



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2015 when Plaintiff verbally withdrew, revoked, and/or terminated any alleged consent

Defendant believed it had to contact him.

37.    Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, WELLS FARGO BANK, N.A., for statutory damages, actual

damages, treble damages, interest, punitive damages and any other such relief the court may

deem just and proper.

                                           COUNT II
                                   (Violation of the FCCPA)

38.    Plaintiff incorporates Paragraphs one (1) through thirty-two (32).

39.    At all times relevant to this action Defendant is subject to and must abide by the law of

Florida, including Florida Statute §559.72.

40.    Defendant has violated Florida Statute §559.72(7) by willfully communicating with the

debtor or any member of her or his family with such frequency as can reasonably be expected to

harass the debtor or her or his family. Defendant called Plaintiff up to three times daily which is

a frequency that can be reasonably expected to harass.

41.    Defendant has violated Florida Statute §559.72(9) which states that no person shall

“Claim, attempt, or threaten to enforce a debt when such person knows that the debt is not

legitimate, or assert the existence of some other legal right when such person knows that the

right does not exist.” Specifically, Defendant was informed numerous times that the Plaintiff was

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